Case 5:10-cv-01686-EEF-MLH Document 4 Filed 11/08/10 Page 1 of 1 PageID #: 93



                         UNITED STATES DISTRICT COURT

                         WESTERN DISTRICT OF LOUISIANA

                                  SHREVEPORT DIVISION


WUELLNER OIL & GAS, INC.,                    CIVIL ACTION NO.:
MARSHALL OIL & GAS, INC.,                      10-cv-1686
TEXAS GAS DEVELOPMENT, L.P.,
AND JARRATT ENTERPRISES, L.L.C.

VERSUS                                       JUDGE: Elizabeth Foote

ENCANA OIL & GAS (USA) INC.                  MAGISTRATE: Mark Hornsby


                                       ORDER

        Based on the foregoing:

        IT IS ORDERED that the defendant EnCana Oil & Gas (USA) Inc.’s unopposed

motion for extension of time be and is hereby GRANTED.

        IT IS FURTHER ORDERED that the deadline for EnCana Oil & Gas (USA) Inc.,

to file responsive pleading has been extended through and including November 18,

2010.

        THUS DONE AND SIGNED in Shreveport, Louisiana, on this the 8th
                                                                   ____ day of
 November
_______________________, 2010.


                                             _______________________________
                                                     DISTRICT JUDGE
